                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:23-CV-00330-FL

 Muminatou Bah,

                        Plaintiff,

 v.
                                                                       Order
 Sampson Bladen Oil Co., Inc. d/b/a/
 Hand-Dee Hugo’s,

                        Defendant.


       Defendant Sampson Bladen Oil Co., Inc. d/b/a/ Hand-Dee Hugo’s wants to depose Melanie

Baporis because it believes she has information that is relevant to the claims in this case. It also

wants her to turn over certain documents that it believes relate to this case. But its attempts to

personally serve Bapoirs with subpoenas to achieve these ends have been unsuccessful. It now

seeks permission to use an alternative method of service and to extend the discovery period to

allow it to conduct her deposition. Plaintiff Muminatou Bah opposes these requests.

       The Federal Rules of Civil Procedure allow a party to use a subpoena to compel a non-

party to appear at trial; sit for a deposition; produce documents, electronically stored information,

or other tangible things; or “permit the inspection of premises[.]” Fed. R. Civ. P. 45(a)(1)(A)(iii).

But before a non-party is obliged to do any of those things, the non-party must be properly served

with the subpoena. See MetroPCS v. Thomas, 327 F.R.D. 600, 612 (N.D. Tex. 2018).

       In most cases, proper service involves two things. First, the subpoena must be served by

someone “who is at least 18 years old and not a party[.]” Fed. R. Civ. P. 45(b)(1). And second,

proper service “requires delivering a copy to the named person and, if the subpoena requires that

person’s attendance, tendering the fees for 1 day’s attendance and the mileage allowed by law.”



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Id. Federal courts are divided over whether Rule 45 requires personal service on a subpoena’s

target or whether it permits alternative methods of service. See Hall v. Sullivan, 229 F.R.D. 501,

502–06 (D. Md. 2005) (discussing the differing views among courts).

       But the parties here are not. Both sides agree that alternative service is permissible. Mem.

in Supp. at 6–7, D.E. 46; Resp. in Opp. at 3 (“Defendant could have simply served Melanie Baporis

via U.S. certified mail from day one[.]”). Given the parties’ agreement and Han-Dee Hugo’s

diligent efforts to personally serve Baporis, the court will grant this portion of Han-Dee Hugo’s

motion.

       Resolution of the alternative service issue leaves the court with whether it should modify

the scheduling order to allow Han-Dee Hugo’s to take Baporis’s deposition no later than 10 days

after she is served with the subpoena. That modification is necessary because, with some

exceptions not relevant here, discovery concluded on September 24, 2024. See Apr. 30, 2024

Order, D.E. 30 (extending discovery period until 50 days after ruling on a motion to compel); Aug.

5, 2024 Order, D.E. 41 (denying motion to compel). Bah argues that the court should deny that

request because Han-Dee Hugo’s has not diligently attempted to depose Baporis.

       The Federal Rules allow a court to modify a scheduling order if a party shows “good cause”

to do so. Fed. R. Civ. P. 16(b)(4). When considering if a party has met the good cause standard,

“the primary consideration is the diligence of the moving party.” Dynatemp Int’l, Inc. v. R421A,

LLC, 672 F. Supp.F. Supp. 3d 87, 101 (E.D.N.C. 2023).

       Given the circumstances of this case, the court finds that Han-Dee Hugo’s has established

good cause to extend the discovery period to allow for Baporis’s deposition. With more than a

month remaining in the discovery period, Han-Dee Hugo’s began its attempt to serve Baporis with

subpoenas. Over the next five weeks, its process server made eleven attempts to serve Baporis




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with the subpoenas at three different addresses. Decl. of Marc Lugo ¶¶ 5, 6, D.E. 46–1. So Han-

Dee Hugo’s inability to depose Baporis is not due to lack of effort on its part.

       Instead, it appears that Baporis (with the assistance of others) is actively evading service

of Han-Dee Hugo’s subpoenas. Decl. of Marc Lugo, D.E. 46–1. While Baporis originally took

phone calls from the process server, since learning he wanted to serve her with documents, his

calls have gone unanswered. Id. ¶¶ 6(b)–(d). And when the process server arrived at one of the

addresses associated with Baporis, he was told by someone at that address that she did not want to

receive any documents. Id. ¶ 6(e).

       Furthermore, the court notes that Baporis is willingly working with Bah’s counsel in this

and other matters. An individual who works cooperatively with one side of a case while stymying

efforts by the other side to obtain discovery adversely impacts the administration of justice.

Denying the request to modify the scheduling order would reward this gamesmanship and

encourage other potential witnesses to engage in similar conduct.

       Bah criticizes Han-Dee Hugo’s for waiting until late in the discovery period to attempt to

serve Baporis. But the Federal Rules do not require parties to engage in discovery in any one

sequence. See Fed. R. Civ. P. 26(d)(3). And given that there were several weeks left in the

discovery period when the attempts at service began, this is not a case in which a party was making

a last-second attempt to obtain discovery. Moreover, while Bah claims that Han-Dee Hugo’s could

have served Baporis by mail at any time instead of attempting personal service, there is no

consensus in the federal courts on that point, and many courts disagree. So Bah’s argument is not




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persuasive. 1 The court thus finds that Han-Dee Hugo’s has acted diligently in its attempts to serve

Baporis, and thus it has shown good cause to modify the scheduling order.

         For the reasons discussed, Han-Dee Hugo’s motion (D.E. 45), is granted. The court orders

that:

    1. Han-Dee Hugo’s may serve the subpoenas on Baporis via USPS Certified Mail, USPS

         Priority Mail, and Federal Express. The subpoenas must be sent to her within seven days

         from the date of entry of this order.

    2. If attempts at service by mail are unsuccessful, Han-Dee Hugo’s may, within 21 days from

         the date of entry of this order, send a copy of this order and the subpoenas to the United

         States Marshal’s Service for the Eastern District of North Carolina. The United States

         Marshal must then attempt to personally serve the subpoenas on Baporis.

    3. Under Rule 26(e)(1)(B), the court requires that no later than Wednesday, November 6,

         2024, any party who included Baporis on its initial disclosures required by Rule

         26(a)(1)A)(i) must supplement that disclosure to provide Baporis’s current address and

         phone number. Similarly, if a party knows Baporis is reachable at multiple addresses or

         phone numbers, all of that contact information should be provided.

    4. The court also amends the Case Management Order to allow Han-Dee Hugo’s to depose

         Baporis no later than ten days after she is served with the subpoenas. All other deadlines

         remain in effect.




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  Bah also argues that Han-Dee Hugo’s motion should be denied because before filing its motion it did not make a
good faith effort to resolve a discovery dispute or seek a telephonic conference with the presiding District Judge, as is
required by the Case Management Order for discovery motions. Resp. in Opp. at 5–6. It is unclear that those
requirements apply to this type of dispute which is focused on scheduling matters and involves a third-party who is
resisting participating in this litigation. But to the extent those requirements apply, the record demonstrates that those
efforts would have been unlikely to aid in the resolution of the disputed issues. So that argument does not provide a
basis to deny the motion.


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       Finally, Bah’s counsel claims that Han-Dee Hugo’s has taken the position “that Plaintiff’s

counsel is somehow colluding with Ms. Baporis to . . . evade service from Defendant[.]” Resp. in

Opp. at 3. Han-Dee Hugo’s does assert that Baporis is “actively evading service of the

Subpoenas[,]” Mem. in Supp. at 2, but, as far as the court can tell, does not accuse Bah’s counsel

of being involved in Baporis’s evasion. The court does not infer that kind of allegation lightly since

an attorney who aided in evading service of a subpoena would likely be violating the North

Carolina Rules of Professional Conduct. See 98 F.E.O. 2 (Jan. 15, 1998). The court is confident

all counsel are aware of their professional obligations and will not engage in conduct that gives

rise to even the suggestion that unethical conduct is taking place.


Dated: November 4, 2024
Dated:

                                               ROBERT T. NUMBERS, II
                                               ______________________________________
                                               UNITEDT.
                                               Robert  STATES MAGISTRATE
                                                         Numbers,  II       JUDGE
                                               United States Magistrate Judge




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